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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION
ADDISON AUTOMATICS, INC., )
individually and as the representative )
of a class of similarly-situated persons, ) No. 10-cv-06903

)

Plaintiff, ) Judge Sharon Johnson Coleman

v. ) Magistrate Judge Young B. Kim
)
PRECISION ELECTRONIC GLASS, )
INC. and PHILIP ROSSI, )
)
Defendants. )

FINAL APPROVAL AND JUDGMENT OF CLASSWIDE SETTLEMENT

WHEREAS, Plaintiff (on behalf of itself and the Settlement Class) and
Defendants filed an executed Settlement Agreement (the “Agreement”) with the
Court on July 28, 2012; and

WHEREAS, the Court, on July 31, 2012 and September 12, 2012, entered
Orders Preliminarily Approving the Class Action Settlement, and Approving the
Class Action Settlement Notice (the “Preliminary Approval Order”), and directed
that the Notice of Proposed Settlement. be distributed to Settlement Class Members,
and scheduled a hearing to be held on December 13, 2012 to determine whether the
Settlement should be approved as fair, reasonable, and adequate; and

WHEREAS, Plaintiff has demonstrated to the Court that such Notice of
Proposed Settlement was distributed in accordance with the terms of the
Preliminary Approval Order; and

WHEREAS, in accordance with the Notice of Proposed Settlement
disseminated to the Settlement Class Members, a hearing was held on December

18, 2012, at which all interested persons were given an opportunity to be heard;

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NOW, THEREFORE, the Court, having read and considered all submissions
made in connection with the Agreement, including statements in open court, finds

and concludes as follows:

1.
1.The Complaint in this action alleged that Defendants faxed unsolicited
advertisements to Plaintiff and the other members of a putative class. The
Complaint alleged Defendants’ practice violated federal law and state law and
caused damages to Plaintiff and the other members of a putative class.
2. i. In the Preliminary Approval Order, pursuant to Federal Rule
23, the Court certified the “Settlement Class” defined as follows:

All persons who were sent a facsimile between January 16, 2008 and

July 24, 2008 from “Philip Rossi” and “Precision Electronic Glass” in
“Vineland, NJ” offering a “2008 Glass Buyers Guide,” “Precision Bore

Tubing,” “Glass Blowing and Lathe Tooling,” “Precision Grinding,”
“Near Optical Polishing,” and “Seals (Glass-to-Glass/Metal/Graded).”

Excluded from the Settlement Class are Defendants and their officers, directors,
agents, servants and employees, and the members of their immediate families.
The parties have expressly agreed to this Settlement Class definition for settlement
purposes only.

3. Further, the Court appointed Plaintiff as the “Class Representative”
and appointed attorneys Phillip A. Bock and Brian J. Wanca as “Class Counsel.”

3. A, Plaintiff and Defendants executed the Agreement and filed it
with the Court. The Agreement provides for the settlement of this action on behalf
of Plaintiff and the Settlement Class, subject. to the Court's approval. The Court

scheduled a hearing to consider approval of the Agreement, and directed that notice
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of the Agreement and of this hearing be disseminated to the Settlement Class in
accordance with the terms of the Preliminary Approval Order.

A, 5. In accordance with the terms of both the Agreement and the
Preliminary Approval Order, Plaintiff caused the Notice of Proposed Settlement to
be disseminated, informing potential Settlement Class Members of the pendency of
this Action and of the terms of the settlement, and of their opportunity to request
exclusion from the Settlement Class or to object to the terms of the settlement.
Plaintiffs attorneys confirmed to the Court with the Declaration of Ross Good (Doc.
119), that the dissemination of the Notice of Proposed Settlement had occurred in
accordance with the Preliminary Approval Order.

5. 6. The Court hereby finds that the Notice of Proposed Settlement
disseminated to the Settlement Class Members in accordance with the terms of the
Preliminary Approval Order constituted the best notice practicable under the
circumstances. The Affidavit confirming dissemination of the Notice of Proposed
Settlement filed with this Court demonstrates that this Court’s Preliminary
Approval Order with respect to dissemination of the Notice of Proposed Settlement
was complied with, and that the best notice practicable under the circumstances
was in fact given, and constituted valid, due, and sufficient notice to Settlement
Class Members.

6. 7. Plaintiff and Defendants have applied to the Court for final
approval of the terms of the Agreement and for the entry of this Final Approval
Order. Pursuant to the Notice Proposed Settlement, and upon notice to all parties, a

hearing was held before this Court on December 13, 2012 to determine whether the
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Court should approve the Agreement as a fair, reasonable, and adequate
compromise of this litigation, and whether the Final Approval Order, without
prejudice to the enforcement of the final judgment entered, should be entered.

7. 8, The Court hereby finds that the Agreement is the result of good
faith, arm’s-length negotiations by the parties thereto, and that it will further the
interests of justice. The Settlement Agreement is hereby incorporated into and
adopted as part of this Order.

8 9. Additionally, based upon the evidence in the record and

statements made in open court, the Court finds as follows:

a. that the settlement is made in reasonable anticipation of
liability;
1. b. that the settlement amount was fair and reasonable

because the judgment amount agreed to is within the range of the statutory
damages recoverable;

2. ¢. that Defendants’ decision to settle conformed to the
standard of a prudent uninsured;

3. Ok that the damages amount agreed to is what a prudent
person in Defendants’ position would have settled for on the merits of the
claims in this Litigation:

A, e. Defendants successfully faxed 31,004 advertisements
between January 16 — 19, 2008 and 747 on July 24, 2008;

5. f. Defendants believed that they had the consent of the fax

recipients when they sent the faxes;
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6. g. Defendants did not intend to injure the fax recipients:
7. h. Defendants tendered this lawsuit to their insurers,

Netherlands and Excelsior, for defense and indemnity: and
1. Netherlands and Excelsior denied coverage and refused to

defend.

NOW, THEREFORE, IT IS ORDERED, ADJUDGED, AND DECREED

THAT:

I. The Court possesses jurisdiction over the subject matter of this Action,
the Plaintiff, the Settlement Class Members, and Defendants. The
Court certifies the following Settlement Class:

All persons who were sent a facsimile between January
16, 2008 and July 24, 2008 from “Philip Rossi” and
“Precision Electronic Glass” in “Vineland, NJ” offering a
“2008 Glass Buyers Guide,” “Precision Bore Tubing,”
“Glass Blowing and Lathe Tooling,” “Precision Grinding,”

“Near Optical Polishing,” and “Seals (Glass-to-
Glass/Metal/Graded).” (the “Settlement Class”).

J. It is hereby determined that the Notice of Proposed Settlement,
as disseminated to members of the Settlement Class in
accordance with provisions of the Preliminary Approval Order,
was the best notice practicable under the circumstances to all
members of the Settlement Class, and is therefore finally
approved as reasonable. Due and adequate notice of the
pendency of this Action and of this Settlement has been provided

to members of the Settlement Class, and this Court hereby finds
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that the notice program described in the Preliminary Approval
Order and completed by Plaintiff complied fully with the
requirements of due process, under Federal Rule of Civil
Procedure 23, and all other applicable laws.

K. 53 members of the Settlement Class requested exclusion. Exhibit
1. The persons listed on Exhibit 1 to this order are hereby
excluded from the Settlement Class. All remaining Settlement
Class Members are bound by this Final Judgment and by the
Agreement and the settlement embodied therein, including the
covenant not to execute provided for in the Agreement and in this
Final Approval Order.

L. All provisions and terms of the Agreement are hereby found to be
fair, reasonable, and adequate as to the Settlement Class
Members and Plaintiff, and all provisions and terms of the
Agreement are hereby finally approved in all respects. The
Agreement was made in reasonable anticipation of Lability. The
settlement amount is fair and reasonable. Defendants’ decision to
settle conforms to the standard of a prudent uninsured. The
agreed judgment amount is what a prudent person in
Defendant's position would have settled for.

M. The Court enters judgment against Defendant Precision
Electronic Glass, Inc. in the total amount of $15,875,500.00 for

violations of the TCPA. As agreed between the parties, in a
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dollar-for-dollar $85,000.00 partial satisfaction of $85,000.00 of
the judgment, Defendant shall pay $85,000.00 by wire transfer or
certified check within three business days after this order
becomes final and non-appealable to Plaintiffs attorneys. The
Court orders that Plaintiffs attorneys hold that $85,000.00 in a
segregated client trust account for the benefit of the Settlement
Class. The remaining portion of the Judgment shall be satisfied
only through the proceeds of Defendants’ insurance policies. Any
recovery obtained on the Judgment shall not be disbursed except
upon approval by the Court. The Court retains jurisdiction over
this case for purposes of implementing this order

N. It is hereby ordered that the named Plaintiff shall receive
$15,000.00 from any recovery against Defendants’ insurers, in
accordance with the Agreement, as incentive payment for its
services to the Settlement Class. Each Settlement Class member,
including Plaintiff, who does not exclude himself will be sent a
pro rata share of the amount recovered, after the deductions
approved herein. Such payments will be made by checks void 90
days after issuance.

O. It is hereby ordered that Plaintiffs attorneys may withdraw from
the $85,000.00 payment by Defendants reimbursement of their
out-of-pocket expenses already incurred totaling $16,979.17. It is

further ordered that Plaintiffs attorneys shall receive attorneys’
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fees equal to one third of any recovery against Defendants’
insurers, plus their out-of-pocket expenses not already
reimbursed, in accordance with the Agreement.

P. It is hereby ordered that any funds received from Defendants’
insurers remaining after payment of all class administration
costs, the incentive award to Plaintiff, the attorney's fees and
costs to Plaintiffs attorneys, and all payments to the Settlement
Class members, shall be paid as a cy pres award to a charity or
charities approved by this Court at the request of Plaintiffs
attorneys.

Q. On the Effective Date, any Settlement Class member who did not
opt- out will be forever barred and permanently enjoined from
directly, indirectly, representatively or in any other capacity,
filing, commencing, prosecuting, continuing, litigating,
intervening in, participating in as class members or otherwise, or
receiving any benefits or other relief from any other lawsuit, any
other arbitration, or any other administrative, regulatory, or
other proceeding against Defendants and/or any of their officers,
directors, shareholders, and employees in any jurisdiction based
on or relating in any way whatsoever to the claims and causes of
action, or the facts or circumstances relating thereto, in or
underlying the Action or the settled claims as defined in the

Agreement; and all persons shall be forever barred and
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permanently enjoined from filing, commencing, or prosecuting
any other lawsuit as a class action against Defendants and their
officers, directors, shareholders and employees (including by
seeking to amend a pending complaint to include class
allegations or by seeking class certification in a pending action 1n
any jurisdiction) on behalf of Settlement Class Members who
have not timely excluded themselves from the Settlement Class if
such other lawsuit is based on or related to the claims and causes
of action or the facts and circumstances relating thereto, in this
Action or the settled claims.

R. Plaintiff and each Settlement Class Member, and their heirs,
executors, administrators, representatives, agents, successors
and assigns, and any and all other Persons claiming through or
by virtue of them, have covenanted with Defendants not to
execute on the Judgment against any asset or property of any
kind of Defendants, or any of their past or present officers,
stockholders, directors, employees, parents, affiliates,
subsidiaries or divisions, or any other successors, assigns or legal
representatives thereof, but rather have agreed to pursue
collection of the Judgment solely against Defendants’ insurance
policies and Defendants’ insurers only. This provision does not
release the judgment against Defendant Precision Electronic

Glass, Inc. to be entered herein, nor does it release the asserted
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claims that are the basis for the entry of the judgment or the
right to enforce the judgment in favor of the Plaintiff and the
Settlement Class against Defendants’ insurers only.

5. The terms of the Agreement and of this Order and the
accompanying Final Judgment shall be forever binding on
Plaintiff and all other Settlement Class Members, as well as
their heirs, executors and administrators, successors and
assigns, and those terms shall have res judicata and other
preclusive effect in all pending and future claims, lawsuits or
other proceedings maintained by or on behalf of any such
persons, to the extent those claims, lawsuits, or other
proceedings involve settled Claims.

T. The Court has jurisdiction to enter this Order. Without in any
way affecting the finality of this Order and the accompanying
Final Judgment, the Court retains jurisdiction for 60 days as to
all matters relating to the administration, consummation,
enforcement, and interpretation of the Agreement, this Order,
and the final judgment contained herein and any future recovery
for the class against Defendants’ insurers.

U. Defendants shall cooperate fully with Plaintiff in all subsequent
actions against Defendants’ insurers.

V. Defendant, Philip Rossi, is dismissed without prejudice.

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W. This is a final and appealable order and there is no just reason to
delay enforcement or appeal.
X. Post-judgment interest shall accrue from the date of entry of this

Judgment Order.

ENTER:

 

Dated: December 14, 2012

Sharon Johnson Coleman
U.S. District Court Judge

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